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AO 239 (01/09) Application to Proceed in District Court Without Prepaying fees or Costs (Long Fonn)


                                       UNITED STATES DISTRICT COURT                                                                    FILED
                                                                           for the
                                                                                                                                  JUL 1 6 2015
                                                                                                                            JUUE RICHARD
                                                                                                                            BY IJS DISTRIC~ ~~TqN. 0 -..
                                                                                )                                             ~                  T,Ef't>lc.._
                         P/aintijjlPetitioner                                   )                                                           -·-D&c:u;
                                                                                )
                                                                                )
                                                                                       Civil Action No.     J //.S -C V ' / '/9 ,80
                                                                                )

        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Long Form)


 Affidavit in Support of the Application                                       Instructions

 I am a plaintiff or petitioner in this case and declare                       Complete all questions in this application and then sign it.
 that I am unable to pay the costs of these proceedings                        Do not leave any blanks: if the answer to a question is "0,"
 and that I am entitled to the relief requested. I declare                     ''none," or ''not applicable (N/A)," write that response. If
 under penalty of petjury that the infonnation below is                        you need more space to answer a question or to explain your
 true and understand that a false statement may result in                      answer, attach a separate sheet of paper identified with your
 a dismissal fmy c ·ms                                                         name, your case's docket number, and the question number.

                    ~~~~()()_
                    .                                                          Date:   ~JL~l~
1.        For both you and your spouse estimate the average amount of money received from each of the following
          sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
          semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
          for taxes or otherwise.
                        Income source                                  Average monthly income                    Income amount expected
                                                                       amount during the past 12                       next month
                                                                               months
                                                                         You            Spouse                        You                  Spouse
Employment
                                                                  $                       $                                        $
                                                                                                 ~           $ /1..{){)()                  /
Self-employment
                                                                  $        /              $     ~            $
                                                                                                                 fZf               $
                                                                                                                                            /
Income from real property (such as remal income)
                                                                  $                       $      _,..,..     $
                                                                                                                 ~                 $
                                                                                                                                       /
Interest and dividends
                                                                  $                       $       ,.,...-    $
                                                                                                                  0                $
                                                                                                                                       /
Gifts
                                                                  $                       $       /"         $
                                                                                                                  !6               $
                                                                                                                                       /
Alimony
                                                                  $                       $       /
                                                                                                  ./
                                                                                                             $
                                                                                                                  0               $/
Child support
                                                                  $                       $                  $
                                                                                                                  0
                                                                                                                  I
                                                                                                                                  $/




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Retirement (such as social security, pensions. annuities.
insurance)
                                                                   $      ..G-             $                 $                $
Disability (such as social security, insurance payments)
                                                                   $
                                                                          ~                $                 $                $
Unemployment payments

Public-assistance (such as welfare)
                                                                   $
                                                                          0                $                 $                $

                                                                   $
                                                                          ~                $                 $                $
Other (specify):
                                                                   $                       $                 $                $

                                                                   $                0.00 $              0.00 $           0.00 $             0.00
                                  Total monthly income:

2.        List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
          other deductions.)

Employer                             Address                                                       Dates of employment




3.        List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
          taxes or other deductions.)

Employer                             Address                                                       Dates of employment              Gross
                                                                                                                                  monthly pay
                                                            r
                                                                                                                              $
                                                                       \/.J._
                                                      "
                                                      I~               1"                                                     $

                                                                                                                              $

4.        How much cash do you and your spouse have? $
          Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution                           Type of account                                  Amount you have             Amount your
                                                                                                                              spouse has
~\                                                                                             ~s-.fD
                                               S:l.Vlrt:j                                  $                             $
                                                                                                                                     I
ltS~-r                                          Chct_1rq                                   $   D..-4l.oo                 $
                                                                                                                               /
                                                                   -                       $                             $/
If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.




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5.        List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
          household furnishings.
                                                      Assets owned by you or your spouse

Home (Value)                                                                                                 $

Other real estate (Value)
                                                                                                             $

Motor vehicle #1 (Value)                                                                                     $oLJ

                  Model:

                 Registration #:

Motor vehicle #2       (Value)                                                                               $

                  Make and year:

                 Model:



Other assets    (Value)                                                                                      $

Other assets (Value)                                                                                         $


6.        State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse                           Amount owed to you                              Amount owed to your spouse
mone
                                                 $                                                    $

                                                 $                                                    $

                                                 $                                                    $


7.        State the persons who rely on you or your spouse for support.
Name (or, ifunder 18, initials only)                                         Relationship                                     Age


                                     ~
          .....,......... ~                                                         ~
                                                                                                           -----
                                                                                 /'




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8.        Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
          spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
          monthly rate.
                                                                                                                You                Your spouse

Rent or home-mortgage payment (includin~·entedfor mobile home)
        Are real estate taxes included?    Yes 0 No                                                   $    r.:::._C!_f""'"!_
                                                                                                                               $
        Is property insurance included? L!V'Yes 0 No                                                          J.. J. J.                          I
Utilities (electricity, heatingjiJel, water. sewer, and telephone)                                    $~Q.lf0                  $
                                                                                                                                             I
Home maintenance (repairs and upkeep)                                                                 $     75_.00             $
                                                                                                                                         I
Food                                                                                                  $   _dll.Ul              $
                                                                                                                                        I
Clothing                                                                                              $
                                                                                                            1rorn              $
                                                                                                                                       I
Laundry and dry-cleaning                                                                              $     6D.li1>            $
                                                                                                                                    I
Medical and dental expenses                                                                           $                        $
                                                                                                                                   I
Transportation (not including motor vehicle payments)                                                 $
                                                                                                          'LcD.Gl)             s   I
Recreation, entertainment, newspapers, magazines, etc.                                                $    ~                   $

Insurance (not deducted ji-om wages or included in mortgage payments)

          Homeowner's or renter's:                                                                    $                        $

          Life:                                                                                       $                        $

          Health:                                                                                     $                        $

          Motor vehicle:                                                                              $
                                                                                                          \;Jl. UD             $

          Other:                                                                                      $                        $
Taxes (not deducted jimn wages or included in mortgage payments) (specify):
                                                                                                      $                        $

Installment payments

          Motor vehicle:
                                                                                                      soLJ('L~ $
          Credit card (name): ~·'-*::c:t..D                Ofl.e..,                                   $   ~®                   $

          Department store (name):                                                                    $                        $

          Other:                                                                                      $                        $

Alimony, maintenance, and support paid to others                                                      $                        $



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Regular expenses for operation of business, profession, or farm (attach detailed
statement)
                                                                                                      $
                                                                                                          cz5          $

Other (specifY): e..Cf'Dbl:td.~ ~                                                                     $;)1,~00         $

                                                                                                      $
                                                                                                           -    0.00   $     0.00
                                                                       Total monthly expenses:

9.        Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
          next 12 months?
          -tfYes         0 No    If yes, describe on an attached sheet. LAe doo l: U)(Jl\L L\One ~ U~ SQrrt:
                                 ~ Et:trl'-:1 inn.l..tqt) <:su~ ·i:!'c ~
10.       Have you paid - or will you be paying- an attornly any money for services in connection with this case,
          including the completion of this form? 0 Yes ~o
          If yes, how much? $ _ __ __ _ _ __ _ ___ _
          If yes, state the attorney's name, address, and telephone number:




II.       Have you paid - or will you be paying- anyone other than an attorney (such as a paralegal or a typist) any money
          for services in connection with this case, including the completion of this fonn?   0 Yes ~o
          If yes, how much? $
          If yes, state the person's name, address, and telephone number:




12.       Provide any other information that will help explain why you cannot pay the costs of these proceedings.




13.       Identify the city and state of your legal residence. ~"ttf\)l \ le_. ..}(L..



          Your daytime phone number:                     ~) ol.!q& -_.l...j 1 f:f::J
          your age:      c.l\ \        your years of schooling:                     IL      m




          Last four digits of your social-security number:                    _'"]loa~




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